Case 20-67082-sms      Doc 19    Filed 08/21/20 Entered 08/21/20 15:29:46          Desc Main
                                 Document     Page 1 of 2




  IT IS ORDERED as set forth below:



  Date: August 21, 2020
                                                      _________________________________

                                                                 Sage M. Sigler
                                                          U.S. Bankruptcy Court Judge

 ________________________________________________________________




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


       IN RE:                                            CASE NUMBER: 20-67082-SMS

       YADESH KUMAR GOWKARRAN,
                                                         CHAPTER 7
                Debtor(s)/Movant(s),

       v.                                                JUDGE SIGLER

       ROBERT PAGE ADMIN OF EST.
       CURTIS RAY,                                       CONTESTED MATTER

                Respondent.


                                            ORDER

                     Before the Court is the Motion to Avoid Lien (the “Motion”) of the above-
      named Debtor(s), as provided by 11 U.S.C. § 522(f) and Bankruptcy Rule 4003(d). (Docket
      No. 10). This Respondent has not filed a response; thus, the Motion is deemed to be
      unopposed. See BLR 6008-1(b), N.D. Ga. Since the creditor whose lien is sought to be
      avoided has failed to controvert the allegations in the Motion, it is hereby
Case 20-67082-sms     Doc 19    Filed 08/21/20 Entered 08/21/20 15:29:46           Desc Main
                                Document     Page 2 of 2




                    ORDERED that the lien held by the Respondent upon exempt property of
      the above-named Movant(s) is AVOIDED to the extent that such lien impairs an
      exemption to which Movant(s) would have been entitled pursuant to 11 U.S.C. § 522(b).

                    The Clerk of Court is directed to serve a copy of this Order on the parties
      on the below distribution list.




                                       END OF DOCUMENT




      DISTRIBUTION LIST

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